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    In The United States Court of Federal Claims
                                          No. 08-700C

                                 (Filed: September 6, 2013)
                                         __________

JAY ANTHONY DOBYNS,

                             Plaintiff,

                      v.

THE UNITED STATES,

                             Defendant.

                                           _________

                                            ORDER
                                           _________

        On July 22, 2013, the court conducted the D.C. component of the trial in this case.
While a transcript of proceedings has apparently been served on the parties, one has not been
filed with the court. Accordingly, on or before September 11, 2013, defendant shall file an
electronic copy of the transcript on CD-ROM.

     IT IS SO ORDERED.



                                                          s/Francis M. Allegra
                                                          Francis M. Allegra
                                                          Judge
